                            Case 1:15-cr-00616-KBF Document 700 Filed 05/03/18 Page 1 of 9
AO 2458 (Rev. 02/18)      Judgment in a Criminal Case
                          Sheet I



                                             UNITED STATES DISTRICT COURT
                                                             Southern District of New York
                                                                              )
                  UNITED ST A TES OF AMERICA                                  )
                                                                                     JUDGMENT IN A CRIMINAL CASE
                                      v.                                      )
                                                                              )
                               Darcy Wedd                                            Case Number: S3 15-cr-00616-KBF-1
                                                                              )
                                                                              )      USM Number: 72799-054
                                                                              )
                                                                              )       Maurice H. Sercarz
                                                                                    -,-----           ----
                                                                                     Defendant's Attorney
                                                                              )
THE DEFENDANT:
D pleaded guilty to count(s)                                                                                 ·-----      ----------
D pleaded nolo contendere to count(s)
   which was accepted by the court.
lll'.l was found guilty on count(s)          1, 2, 3, 4, 5, 6, 7, 8
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                       Nature of Offense                                                        Offense Ended

 18:1349.F                             ATTEMPT AND CONSPIRACY TO COMMIT WIRE FRAUD                               12/31/2013               1

 18:1343.F                             FRAUD BY WIRE, RADIO, OR TELEVISION                                       12/31/2013               2

 18:1028A.F                            FRAUD WITH IDENTIFICATION DOCUMENTS (AGGRAVA                              12/31/2013               3

       The defendant is sentenced as provided in pages 2 through             -··_9_,_ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
lll'.l Count(s)     -~_nd_~rlyiri_g                          Dis      lll'.l are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change ofname, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                             4/2/2018            ----~-------------------
                                                                            Date of Imposition of Judgment




                  USDC SDNY
                                                                            ___ LG~: r;)io -~~~~~~-
                                                                            Signature of Judge

                  DOC'UMENT
                  ELECTRONICALLY FILED
                                                                             HON. KATHERINE B. FORREST, USDJ
                  DOC#:                                                     -- ,-,·--------------------------
                                                                            Name and Title of Judge
                           --~:'7':"":'~-=----
                  1>. \ IT FILED: MAY O3 2018
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AO 2458 (Rev. 02/ 18)   Judgment in a Criminal Case
                        Sheet I A
                                                                                  Judgment-Page   2       of   9
DEFENDANT: Darcy Wedd
CASE NUMBER: S3 15-cr-00616-KBF-1

                                            ADDITIONAL COUNTS OF CONVICTION

Title & Section                   Nature of Offense                           Offense Ended           Count
18:1956-4999.F                     MONEY LAUNDERING - FRAUD, OTHER (CONSPIR   12/31/2013              4

18:1349.F                          ATTEMPT AND CONSPIRACY TO COMMIT WIRE FR   12/31/2013              5

18:1343.F                          FRAUD BY WIRE, RADIO, OR TELEVISION        12/31/2013              6

18:1028A.F                         FRAUD WITH IDENTIFICATION DOCUMENTS (AGG   12/31/2013              7

18:1956-4999.F                     MONEY LAUNDERING - FRAUD, OTHER (CONSPIR   12/31/2013              8
                         Case 1:15-cr-00616-KBF Document 700 Filed 05/03/18 Page 3 of 9
AO 245B (Rev. 02/l 8) Judgment in Criminal Case
                      Sheet 2   Imprisonment

                                                                                                        Judgment - Page   3    of   9
 DEFENDANT: Darcy Wedd
 CASE NUMBER: S3 15-cr-00616-KBF-1

                                                               IMPRISONMENT

            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
 term of:

  Seventy-two (72) months on counts 1,2,4,5,6, and 8, to be followed by a mandatory, consecutive twenty-four (24) months on
  count 3, to then be followed by an additional, mandatory, consecutive twenty-four (24) months on count 7, for a total term of
  imprisonment of one hundred and twenty (120) months.


      Ill   The court makes the following recommendations to the Bureau of Prisons:

  It is recommended that the defendant be designated to LSCI Allenwood and that he be afforded the opportunity to participate
  in the prison's Institutional Hearing Program to address removal proceedings. The deft. should not be desig. to one of the
  BOP's privately contracted facilities for sentenced aliens. The Court does not want the deft. desig. to Moshannon Valley Cl.

      0     The defendant is remanded to the custody of the United States Marshal.

      D The defendant shall surrender to the United States Marshal for this district:
            0   at                                0     a.m.     0   p.m.     on                ------~-----

            0   as notified by the United States Marshal.

      O The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            0   before 2 p.m. on

            0   as notified by the United States Marshal.

            D as notified by the Probation or Pretrial Services Office.


                                                                     RETURN

 I have executed this judgment as follows:




            Defendant delivered on                                                         to

 at                                                   , with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL



                                                                            By --- -- -- -        -----   ---------------
                                                                                                  DEPUTY UNITED ST A TES MARSHAL
                           Case 1:15-cr-00616-KBF Document 700 Filed 05/03/18 Page 4 of 9
AO 2458 (Rev. 02.1 18)   Judgment in a Criminal Case
                         Sheet 3   Supervised Release
                                                                                                          Judgment- Page   ~-4~_   of   9
DEFENDANT: Darcy Wedd
CASE NUMBER: S3 15-cr-00616-KBF-1
                                                         SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of:
 Three (3) years




                                                        MANDATORY CONDITIONS

l.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as dcte1mincd by the court.
            D The above drug testing condition is suspended, based on the court's determination that you
                pose a low risk of future substance abuse. (check if applicahlei
4.     [yf You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
            restitution. /check 1/ i1pp/1cah/e)
5.     @    You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.     D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
            directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
            reside, work, arc a student, or were convicted of a qualifying offense. (check if applicable)
7.     D    You must participate in an approved program for domestic violence. (check if applicable)




You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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 AO 2458 (Rev. 02/18) Judgment in a Criminal Case
                      Sheet 3A    Supervised Release
                                                                                              Judgment---Page __   ---=:___~

DEFENDANT: Darcy Wedd
CASE NUMBER: S3 15-cr-00616-KBF-1

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

I.   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
     release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
     frame.
2.   After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
     when you must report to the probation officer, and you must report to the probation officer as instructed.
3.   You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
     court or the probation officer.
4.   You must answer truthfully the questions asked by your probation officer.
5.   You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
     arrangements (such as the people you live with), you must notify the probation officer at least IO days before the change. If notifying
     the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
     hours of becoming aware of a change or expected change.
6.   You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
     take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.   You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
     doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
     you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
     responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
     days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
     becoming aware of a change or expected change.
8.   You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
     convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
     probation officer.
9.   If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
I 0. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
     designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
     first getting the permission of the court.
12. If the probation officer detennines that you pose a risk to another person (including an organization), the probation officer may
     require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
     person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.




U.S. Probation Office Use Only
A U.S. probation otlicer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                    Date
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 AO 245B (Rev. 02/18) Judgment in a Criminal Case
                      Sheet 38    Supervised Release
                                                                                            Judgment--Page   ~=6~   of         9
DEFENDANT: Darcy Wedd
CASE NUMBER: S3 15-cr-00616-KBF-1

                                      ADDITIONAL SUPERVISED RELEASE TERMS
The defendant shall refrain from unlawful use of a controlled substance; the probation office may test the defendant
randomly or on a scheduled basis to ensure compliance with this term.

The defendant must comply with all directives of the probation office regarding any drug testing by the probation office or
any associated programs.

The defendant shall submit his person, residence, place of business, vehicle, or any other premises under his control to a
search on the basis that the probation officer has reasonable belief that contraband or evidence of a violation of the
conditions of the release may be found. This search must be conducted at a reasonable time and in a reasonable manner.
Failure to submit to a search may be grounds for revocation. The defendant shall inform any other residents that the
premises may be subject to search pursuant to this condition.

The defendant shall comply with the immigration law and cooperate with the Department of Homeland Security, Bureau of
Citizenship and Immigration Services (BCIS).

The defendant is to provide the Probation Department access to any and all requested financial information.

The defendant must not incur any new credit card charges or open any new credit line without approval of the Probation
Department.

The defendant shall notify the U.S. Attorney's Office for this district within 30 days of any change of mailing or residence
address that occurs while any portion of the restitution remains unpaid.

The defendant shall be supervised by the district of residence.
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AO 2458 (Rev. 02/18)   Judgment in a Criminal Case
                       Sheet 5   Criminal Monetary Penalties
                                                                                                          Judgment~-- Page          7     of         9
DEFENDANT: Darcy Wedd
CASE NUMBER: S3 15-cr-00616-KBF-1
                                                CRIMINAL MONET ARY PENALTIES

      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                     Assessment                      JVT A Assessment*                                               Restitution
TOTALS             $ 800.00                      $                                  $                            $



 D The determination of restitution is deferred until                       . An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                                        Total Loss**               Restitution Ordered                Priority or Percentai:e




TOTALS                                $                          0.00           $                         0.00


 D     Restitution amount ordered pursuant to pica agreement $

 D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U .S.C. § 36 l 2(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 36 l 2(g).

 D     The court determined that the defendant docs not have the ability to pay interest and it is ordered that:

       D the interest requirement is waived for the             D fine      D restitution.
       D the interest requirement for the            D   fine    •      restitution is modified as follows:


 * Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 ** Findings for the total amount of losses arc required under Chapters         109A, 110, 11 0A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
                       Casein1:15-cr-00616-KBF
AO 245B (Rev. 02/18) Judgment   a Criminal Case               Document 700 Filed 05/03/18 Page 8 of 9
                     Sheet SA - Criminal Monetary Penalties
                                                                                         Judgment -Page   --~8__   of   9
DEFENDANT: Darcy Wedd
CASE NUMBER: S3 15-cr-00616-KBF-1

                    ADDITIONAL TERMS FOR CRIMINAL MONETARY PENALTIES
 Forfeiture traceable to the offense is Ordered. Government to submit proposed order within 90 days.

 Restitution is Ordered. Government to submit proposed order within 90 days.
                            Case 1:15-cr-00616-KBF Document 700 Filed 05/03/18 Page 9 of 9
AO 245B (Rev 02/18) Judgment in a Criminal Case
                        Sheet 6   Schedule of Payments

                                                                                                                   Judgment -   Page   9     of       9
DEFENDANT: Darcy Wedd
CASE NUMBER: S3 15-cr-00616-KBF-1


                                                         SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     fl]    Lump sum payment of$          800.00              __ due immediately, balance due


             •      not later than                                     , or
             •      in accordance with
                                          •    C,
                                                     •    D,
                                                                  •     E, or
                                                                                   •    F below; or

B     •      Payment to begin immediately (may be combined with                 DC,           DD, or         D F below); or

C     D      Payment in equal                        (e.g., weekly, month(i·. 11uw·terlv) installments of $               _ _ _ _ over a period of
                             (ex. 11w11ths or vears), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

D     D      Payment in equal                        (e.g., weekly, 1110111hll', q11arter/_1) installments of $          _ ---~ over a period of
            _____   _ ___    (e.g., nwnths or _rears), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

E     D      Payment during the tenn of supervised release will commence within       _        _ (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     D      Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (i11c/11di11g de/ell(/ant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




D     The defendant shall pay the cost of prosecution.

D     The defendant shall pay the following court cost(s):

D     The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: ( 1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVT A assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
